           Case 2:13-md-02437-MMB Document 330 Filed 12/01/15 Page 1 of 1
                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: DOMESTIC DRYWALL                                              MDL No. 2437
ANTITRUST LITIGATION                                                 13-MD-2437

                                                                     CIVIL ACTION 15-1712
THIS DOCUMENT RELATES TO:

Ashton Woods Holdings, L.L.C., et al.,
       v.
USG Corp., et al.


                                                            ORDER

          AND NOW, this 1st day of December, 2015, Plaintiffs’ Motion to File a First Amended

Complaint Under Seal (ECF 32) is DENIED for the reasons set forth in the foregoing

Memorandum.


          1.        Plaintiffs shall file a new Amended Complaint within fourteen (14) days.

          2.        Defendants shall respond within thirty (30) days.


      3.    Defendants’ Joint Motion to Dismiss the Original Complaint (15-1712, ECF 28)
is DENIED as moot;

      4.      Defendant USG’s Motion for Partial Joinder in Defendants’ Joint Motion to
Dismiss the Original Complaint (15-1712, ECF 27) is DENIED as moot;

        5.  Defendant TIN, Inc.’s Motion to Dismiss the Original Complaint (15-1712, ECF
23) is DENIED as moot;

      6.      Defendant Continental Building Products’ Motion to Dismiss the Original
Complaint is DENIED as moot (13-MD-2437, ECF 301; 302); and

       7.   Defendant LaFarge’s Motion to Dismiss the Original Complaint is DENIED as
moot (13-MD-2437, ECF 303).

                                                            BY THE COURT:

                                                            /s/ Michael M. Baylson
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                                                            MICHAEL M. BAYLSON, U.S.D.J.


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